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TRANSLATION OF EVA'S NIGHTMARE FROM HER DIARY

Last night I had a dream: it was about dad, mom, me, Juliette, and Snowflake. We were in a hotel - mom,
me, and Juliette were in one room, but dad was in another. We could see each other through the windows
but that's it.
One night mom woke us up (me and Juliette). It was about 2 in the morning. Then she asked us, "Do you
want an ice cream?" and I don't know why but we said "Yes" so we walked out of the hotel and
conveniently there was an ice cream truck right in front.
When we asked for our favorite flavors, he took us to the back of the truck and he drove for at least 2 days.
After about half of the first day I saw through a little hole in the truck that next to the word "destination"
was written "Ashland, Oregon" and that's when I understood that this person was driving me to Ashland.
A day and a half later, the truck stopped and the doors of the truck opened. We got out of the truck (me
and Juliette) and we saw mom and the man talking and laughing. And that's when I woke up.




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